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                                                                                                  U.S. DISTRICT COURT
                                                                                                      N.D. OF ALABAMA

                             UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ALABAMA
                                  SOUTHERN DIVISION

       EBONY MELINDA LEWIS,                             )
                                                        )
                Plaintiff,                              )
                                                        )
       vs.                                              )     CIVIL ACTION NO.:
                                                        )
       THE BOARD OF TRUSTEES OF THE                     )
       UNIVERSITY OF ALABAMA, public                    )
       professional education institution and           )
       MICHAEL S. REDDY, DMD, DEAN of the               )
       SCHOOL OF DENTISTRY(SOD), as an
       individual and in his Official Capacity as       )
       administrator of a federally assisted program,   )               JURY DEMAND
       Dr. Ken Tilashalski ("Tilashalski"), is the      )
       Associate Dean of Academic Affairs AND Dr.       )
       Stephen Mitchell ("Mitchell"), is an Associate   )
       Professor, Director, Undergraduate Pediatric     )
       Dentistry Department of Pediatric Dentistry as   )
       an individual and in their respective Official   )
       Capacities, as indicated herein.                 )
                Defendants.




                                           VERIFIED COMPLAINT

   COMES NOW, Plaintiff, Ebony Melinda Lewis ("Plaintiff' or "Lewis"), and for her Verified

   Complaint against Defendants, The Board of Trustees of The University of Alabama ("Board"), the

   Dean of the University of Alabama School of Dentistry ("SOD"), Michael Reddy ("Reddy"), and the

   Associate Dean of Academic Affairs, Dr. Ken Tilashalski ("Tilashalski"), and Stephen Mitchell

   ("Mitchell"), an Associate Professor, states as follows:

                                        PRELIMINARY STATEMENT

1. This is an action brought under 42 USC § 1983 and Title VI of the Civil Rights Act and the Plaintiff

   further alleges violations against Defendants arising under certain laws of the State of Alabama as

   described below.

2. The Plaintiff contends that the Defendants, The Board of Trustees of The University of Alabama

   ("Board"), the Dean of the University of Alabama School of Dentistry ("SOD"), Michael Reddy



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   ("Reddy"), the Associate Dean of Academic Affairs, Ken Tilashalski ("Tilashalski"), and Stephen

   Mitchell ("Mitchell"), violated, inter alia, Title VI ofthe Civil Rights Act of 1964, 42 U .S.C. 2000d et

   seq., and its implementing Regulations.

3. The Plaintiff contends she was denied due process and equal protection of law in the provision and

   administration of federally assisted policies and programs at the hands ofthe Board, Reddy, Mitchell,

   and Tilashalski. Plaintiffs contentions arise from the Defendants procedural and substantive

   deviations from standard academic review and academic appeal procedures that have harmed Plaintiff

   in that she was wrongfully dismissed from the DMD program in violation of rights protected by

   contract and the Constitution.

4. The Plaintiff contends she was subjected to a discriminatory campus climate displaying various

   vestiges of race-based segregation, raced-based discrimination, and a well-documented history of

   exclusion, de facto segregation and that said actions substantially impaired or interfered with her

   ability to perform contractual obligations and were in violation of constitutional rights.

                                                   PARTIES

5. Plaintiff, Ebony M. Lewis is a citizen of the United States and is a resident of Alabama. Lewis is a

   member of a protected class as an African-American female and a student previously enrolled in the

   DMD program at The University of Alabama at Birmingham School of Dentistry.

6. The Board of Trustees ofthe University of Alabama is, upon information and belief, comprised of

   self-selected and self-perpetuating officials who are responsible for policy and governance of the

   University of Alabama system, including The University of Alabama at Birmingham ("UAB"). It

   receives federal funds, inter alia, in the forms of student grants, student aid, research grants, and other

   sources of federal funds.

7. Dr. Michael S. Reddy, Dean of the School of Dentistry, was the final decision maker in the appeals

   process at the SOD and denied Rollins due process and equal protection.




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8. Dr. Ken Tilashalski ("Tilashalski"), is the Associate Dean of Academic Affairs ("Associate Dean"),

   and Chair of the Academic Performance Committee ("APC"). The APC is charged with monitoring

   and assessing the academic status of students in the DMD program.


9. Dr. Stephen Mitchell ("Mitchell") is an Associate Professor, Director, Undergraduate Pediatric

   Dentistry Department of Pediatric Dentistry, and a member of the Academic Performance Committee

   ("APC")! Faculty Council and based upon information and belief, is a member of the Alabama Dental

   Association.


                                                  JURISDICTION

lO.The jurisdiction of this court is invoked pursuant to 28 U.S.C. §1331, 42 U.S.C. § 1981,42 U.S.C.

   § 1983 and 42 U.S.c. §2000 (d) et seq., Title VI of the Civil Rights Act of 1964, as amended.

11.The jurisdiction of this court is invoked to secure protection for and to redress the deprivation of rights

   secured by 42 U.S.C. §§2000d, et seq. Title VI of the Civil Rights Act of 1964, as amended, 42 U.S.C.

   § 1983, and the 14th Amendment to the Constitution ofthe United States and the power to grant

   declaratory relief is conferred on this Court by 28 U.S.C. §2201, et seq.

12.This Court has supplemental jurisdiction over the state law claims asserted in the complaint, in that the

   state law claims are so related to the federal claims that they form part ofthe same case or controversy

   under Article III of the Constitution. The state law claims do not raise novel or complex issues of State

   law, do not substantially predominate over the federal law claims, and there are no compelling reasons

   for declining to exercise jurisdiction over the state law claims. Accordingly, Plaintiff invokes

   supplemental jurisdiction over the state law claims raised herein.

13 .Venue is proper in this district in that all of the named defendants reside or are found within this

   district and the claims of the plaintiffs arose in this district.

                                        BACKGROUND INFORMATION

i 4.Lewis' experience as a first year student was riddled with instances in which the SOD administrators,

   faculty, and staff failed to adhere to its self-imposed academic review standards and evaluation


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  procedures. The omissions and deviations substantially impaired the impartiality of the review

  process, were discriminatory, and in violation of the Constitution. As a result, Lewis was wrongfully

   dismissed, deprived of a meaningful opportunity to complete the DMD program, and her ability to

   fulfill contractual obligations to a third party was substantially impaired, if not completely.

   extinguished.

15. Alabamians, like all, Americans share a common historical and cultural heritage in which racism has

   played and still plays a dominant role. Yet, most of us are often unaware of our racism.

16. We do not recognize the ways in which our cultural experience has influenced our beliefs about race

   or the occasions on which those beliefs affect our actions. This holds true for all, including those

   acting on behalf of state institutions and especially to the racial climate of a college campus. 1

17.The University of Alabama System, including the University of Alabama at Birmingham (UAB)

   Campus, is certainly not immune to the forgoing, and its history of racial discriminatory actions is

   well-documented.

18. In many instances, the behavior that produces racial discrimination is intentional, but arguably more

   often than not, it is influenced by 'subconscious' racial motivations. In the context of social justice or

   moral justice, the distinction of whether the discriminatory policy or program is intentional or not is

   moot. The hann caused by the discriminatory act is not affected by the intent of the actor.

19.An ill will, malicious mind, or a hardened heart is not necessarily required for one to be deemed a

   discriminatory actor or the source of an act having a discriminatory impact.

20. Systems, inclusive of checks-and-balances, standardized procedures and impartial review at each level

   of decision-making, collectively tend to serve to control such subconscious discriminatory actions.




   1   The psychological dimensions of the campus racial climate relates to individuals' views of group

   relations, institutional responses to diversity, perceptions of discrimination or racial conflict, and

   attitudes toward those from other racial/ethnic backgrounds than one's own.




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21 .In the absence of the safe guards, organic partiality and natural biases will reign. Predominant cultural

   and racial predispositions will influence both the decision-making process and most especially, the

   decision maker.

22.1n the instant matter, the Plaintiff will establish that the Defendants failed to maintain such safeguards

   and that these failures constituted a procedural and substantive deviation from self-imposed norms2,

   that the statements and actions occurring throughout the Plaintiffs enrollment at the SOD, and

   particularly during the administrative history ofthe decision~making process lays bare the disparate

   treatment suffered by the Plaintiff. Moreover, the Plaintiff experienced extenuating circumstances

   which should have precipitated responsive action by the SOD faculty and staff in the form of a

   bereavement leave, voluntary withdrawal, academic bankruptcy, or another proactive action

   addressing the difficulty the Plaintiff faced upon losing her grandmother and nearly losing an uncle.

23.Although there is substantial justification and persuasive rationale in support of administrative

   autonomy and judicial restraint in matters which are deemed to involve purely academic decisions, an

   analysis of the extent to which an institution has developed and maintained standardized procedural

   and administrative safe-guards, its integrity as it relates to academic review procedures and its

   commitment to non-discriminatory conduct is certainly within the province of this court.



                                           STATEMENT OF FACTS

24.Lewis was accepted into the University of Alabama School of Dentistry and has completed her first

   year. She earned the prestigious, Star Student Scholarship (3S), which is a scholarship "available to a

   very limited number of students and represents [the SOD's] effort to continue to attract the best

   students to the [SOD]" based on exemplary academic performance, service to community, and




2 The policies were established by the SOD Academic Guidelines, comparative DMD program student
cases, and the Commission of Dental Education Handbook.


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    commitment to achievement. 3 Lewis' interest in becoming a dentist is deeply rooted in a strong sense

    of social and community responsibility and a habit of personal achievement.

25.After reading an article entitled "Want of Dental Care," which describes the story of a youth who

    suffered from an abscessed tooth which ultimately proved fatal, Lewis recognized that through

    increased dental care access and dental health awareness, a life would have been preserved. From that

    point, Lewis was decidedly of the mindset to address the dental health needs of under-served

    communities. She began to prepare in earnest for not just a career, but for a purpose--a life mission in

    which she would meet the dental health needs of under-served communities.

26.Lewis developed a vision and course of action that would drive her to become the first member of her

    immediate family or extended family to matriculate to a professional institution of higher learning.

27.Long before matriculating to the SOD, Lewis established a record of commitment to achievement,

    perseverance and solidified her commitment to become a socially-conscious professional as a member

    of the dental profession. While completing a rigorous undergraduate program at the University of

    South Florida ("USF") with a Bachelor of Science degree in Psychology (3.66 GPA)\ Lewis

    completed a dental internship, and participated in various preparatory extracurricular activities such as

    the Pre-dental Society, the Minority Pre-Professional Science Society, and Habitat for Humanity.5

28.The amalgamation of determination, hard work, and exemplary academic performance facilitated the

    attainment of admission to the SOD and the award of several prestigious scholarship awards.

29.For instance, Lewis received a full tuition scholarship sponsored by the National Health Service Corps

    ("NHSC"). NHSC, is a scholars program promoting social consciousness and social awareness amid

    the health care professional community. NHSC provides students pursuing careers in primary care

    with scholarships to cover academic costs and living expenses during the student's course of study.



3 (see Scholarship Award Letter-Steven J. Filler, DDS, MS, l"lA, in his official capacity as Associate
Dean, SOD)
4 USF Transcript Attached.
5 Each of the foregoing extracurricular activities were completed in the city of Tampa, Florida during Lewis'
undergraduate studies at the University of South Florida. In addition to participation in these programs, Lewis
developed and honed musical talents while playing the alto saxophone for over eight years.


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30.ln exchange, the student agrees to serve low income communities' needs for dental healthcare

    services. Upon completing the DMD program and subsequent training, the scholar joins a network of

    primary health care providers and sites dedicated to building healthier communities with limited

    access to care.

31. If the scholar is unable to meet any of the contractual conditions, the scholarship is converted to a loan

    subject to immediate repayment in full.

32.NHSC offered and Lewis accepted the scholarship for the purpose of completing the DMD program at

    SOD.

33.Lewis has incurred over $90,000 in tuition expenses, fees, educational costs, and living expenses in

    the course of completing the first year of the DMD program.

34.As a result of the wrongful dismissal, Lewis is responsible for repayment of the full balance of the

    NHSC scholarship. She will not have a meaningful opportunity to transfer to another DMD program

    or seek admission to other DMD programs, and moreover, Lewis is effectively deprived of the

    opportunity to serve under-served communities' dental healthcare needs as a dentist.

35.Lewis completed the first semester ofthe DMD program with a GPA of2.89 on 4.0 scale. She

    received a grade of an "A" or an "8" in seven (7) of the nine (9) numerically graded courses for the

    first semester of the DMD program. 6

36.During Lewis' second semester, she was enrolled in Cardiovascular and Renal Systems

    ("Cardio/Renal") a required course under Dr. Carie Elzie, the course instructor.




6 As stated above, Lewis successfully completed the first semester ofthe 01 academic year with a GPA of2.89.
Attempting 38.00 hours and completing 100% of the courses for a total of38.00 Earned hours. 35.00 hours of the
38.00 hours qualify as 'GPA Hours' based on 101.00 Quality Points. 101.00/35.00 provides for the 2.89 GPA. Of
the eleven (11) courses completed, two (2) of the courses were PasslFail and thus have no bearing on the calculation
ofGPA, whereas the remaining nine (9) courses assigned a numerical score and ultimately a 'grade assignment.' Of
the remaining nine (9) courses, Lewis received two (2) "A" grades and five (5) "B" grades. The two courses in
which Lewis received a "c" disproportionately represented twenty six percent (26%) of the total credit hours
awarded for the semester while representing roughly eighteen percent (18%) of the semester's academic course load
that is in terms of total courses completed.


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37. The course syllabus for Cardio/Renal provides for remediation and represents to "create a professional

   partnership between [Lewis], the students, [Dr. Elzie], and the lecturers of this module" (See Course

   Syllabus Attached).

38. Lewis, after completing the first year of the SOD program with an overall 2.38 GPA, was dismissed

   from the SOD program after receiving a numerical grade of 65 in Cardiovascular and Renal Systems.

39.At all times relevant to this action, Lewis has maintained a grade point average above 2.0, as required

   in the SOD guidelines.

40.In a class comprised of 56 students, Lewis is one of two African American students. Based upon

   information and belief, the maximum class size is sixty-five (65) students and of the four classes

   currently pursuing a DMD at the SOD, the number of black students in the respective class is

   estimated as follows: First Year-2, Second Year-4, Third Year-I, Fourth Year-I, Incoming Class- 4.

41.As indicated above, Lewis is passionate and committed to providing dental care to under-served

   communities.

42.Lewis contends that she regularly experienced racially and culturally insensitive comments during

   peer-review sessions and instructor-lead discussions. Upon the occurrence of these events, no adequate

   corrective action or guidance was provided by the course instructor, administrator, faculty or staff

   member.

43.Even as a highly talented student, Lewis' perception of racial tension, between groups on campus, and

   the resulting feelings of isolation related to her racial identity caused a substantial negative effect on

   her ability to perform academically.

44.As described herein and below, the SOD failed to follow its own self-imposed Academic Guidelines

   and failed to provide adequate consideration or relief to Lewis in response to the extenuating

   circumstances she faced during the first and second semester in at least the following ways:

                a.   failure to provide formal tutoring services per the Commission of Dental Education,

                     the Cardio and Renal Course syllabus, and the Academic Guidelines;




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                b. failure to provide and make available in a timely manner and counseling services per

                     the Commission of Dental Education handbook (American Dental Association);

                c.   failure to take a broad-based perspective approach in the decision-making process

                     and failure to consider all relevant factors in evaluating the students fitness to

                     continue in the DMD program;

                d. failure to provide an impartial academic review process namely in denying Lewis a

                     meaningful hearing before an unbiased neutral board prior to the final dismissal;

                e.   failure to provide a campus community and classroom climate welcoming diversity

                     of thought and experience;

                f.   failure to be sympathetic to the concerns of the individual student and provide

                     mandatory accommodations for variances caused by unforeseeable family exigencies

                     and the untimely loss of a family member;

                g. failure to provide the minutes or notes from the hearing held before the Academic

                     Performance Committee/Faculty Council as required.

45.As stated in the SOD Academic Guidelines, "the responsibility ofthe University of Alabama at

   Birmingham School of Dentistry (SOD)" includes the academic oversight of all students pursuing the

   DMD degree. The Academic Performance Committee (APC) is charged with "monitoring and

   assessing the academic status of students in the DMD program. The Associate Dean of Academic

   Affairs serves as Chair ofthe APC. The APC will meet on a regular basis ... [to] review grades and

   other material pertinent, to student progress and evaluate the information as it relates to establish

   school policy. Based on this information, the APC will make recommendations to the Associate Dean

   regarding promotion, probationary status, repetition, remediation, and dismissal. [A]cademic decisions

   will be governed by the version of the Academic Guidelines in place at the time of the decision."

46.Lewis experienced several extenuating circumstances -namely, the unexpected death of maternal

   grandmother on or about October 1,2011, and Lewis' maternal uncle suffered a massive stroke on or

   about February 13,2012, and was hospitalized in Atlanta, Georgia, through April 2012.


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47.Each of the incidents were unforeseeable, significantly disruptive, and beyond Lewis' control.

48.Although the plaintiff initially attempted to independently-manage and internalize the resulting grief,

   the events negatively affected Lewis' academic performance and caused her to experience somatic

   issues -restlessness, anxiety, and mild depression - necessitating several trips to the University of

   Alabama Birmingham Student Health Facility.

49. Since the dismissal, Lewis has continued to receive said counseling services and treatment.

50.0n or about September 15,2011, Lewis was informed that her grandmother was ill and had been

   hospitalized. Within two weeks, the plaintiffs maternal grandmother had passed away.

51.Lewis did not receive any offer for grief counseling or an official leave of absence. Largely due to her

   commitment to the SOD program and the unexpected nature of the death, Lewis did not visit her

   grandmother prior to death.

52. Lewis shared a close familial tie and bond with her grandmother, and naturally, she was more

   distraught by the loss because she did not have an opportunity to say farewell or to communicate

   sentiments that were previously unspoken.

53.0n or about February 13,2012, the Plaintiff was informed that an uncle had suffered several massive

   strokes and was subsequently hospitalized until March 19, 2012. Lewis made regular trips to Atlanta

   to visit her uncle during his hospitalization and the subsequent rehabilitation.

54.Due to the recent sudden loss of her grandmother and the close familial bond with her uncle, Lewis

   was especially determined to provide support for her uncle and family during his hospitalization and

   recovery period.

55.Although Lewis did not receive an offer or formal consideration for leave of absence, repetition,

   'academic bankruptcy' or any other meaningful consideration during either period of hardship, Lewis

   managed to perfonn at an average level for all of her courses save Cardiovascular and Renal

   ("CardiolRenal") in which she did not receive a passing grade.

56.By the time Lewis realized the extent of her academic difficulties in Cardio/Renal, much of the

   academic harm was beyond repair within the time constraints of the semester.


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57. Throughout the Cardio/Renal course, Lewis was regularly driving to Atlanta on weekends to be with

   her family, and she often made the trip during the weekdays, as well.

58.The SOD guidelines and the American Dental Association accreditation standards mandate

   consideration of the forgoing factors in the academic evaluation process.

59.Lewis did not receive the required consideration for assistance, nor did she receive an offer ofleave of

   absence, voluntary withdrawal, repetition etc. and was ultimately dismissed from the SOD.

60.0n or about May 15,2012, Lewis received a grade of 65 (D) for CardiolRenal and was then

   subsequently advised that she would have an opportunity to take a remediation exam consisting of 100

   multiple choice questions requiring a score of70.

   Detailed Timeline of Relevant Events

   May 31 st

61. Less than a week before Lewis was scheduled to take the remediation exam for Cardio/Renal,

   Tilashalski told Lewis that the course instructor was keeping him informed of Lewis' performance and

   that if there was a need for counseling services, such services were available.

62. On the same day, Lewis set an appointment to meet with an on-campus grief counselor.

63.At 1:00 pm on the same day, Lewis sat for the remediation exam.

64.Lewis did not receive an offer for any tutoring services prior to the exam.

65.0n or about June 2nd , Lewis received a grade of 591100 on the remediation exam.



   June 12th

66. Lewis met with Tilashalski to discuss the procedure for the Hearing before the Academic Performance

   Committee (or Faculty Council).

67.During the conversation, Lewis was asked whether her parents were dentists, and she replied, "No,

   they did not attend college, but they are extremely supportive of my academic studies."

68.As required by the SOD - Academic Guidelines, Tilashalski stated the APC would take abroad

   perspective approach in the decision making process and would consider all relevant factors.


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   June 22 nd

69. Lewis received a call from Tilashalski informing her she had been dismissed from the SOD, and she

   was told that previous students who have recycled the first year would continue to have a trend of poor

   or marginal performance.

70.lmmediately after ending the call with Tilashalski, Lewis called John Ruby, Associate Professor,

   ("Ruby") to provide notice of her intent to appeal the APC's decision, but she received no answer. She

   called (3) times consecutively, but there was no answer.

71.Lewis then called Tilashalski's assistant, who stated she would refer Lewis to the correct contact for

   filing an appeal after confirming the information with another person in the office. Lewis left her

   number with the assistant and was told she would receive a follow up call in ten minutes.

72.Ten minutes elapsed, but Lewis never received a call. Lewis then called the assistant, but no one

   answered. Lewis immediately called the assistant again, but on this occasion, she tried from another

   number, which was unknown to the assistant. Tilashalski's assistant answered, but only to then refer

   Lewis back to Ruby's office.

73. Lewis once again started to feel as though there was an intentional effort to unduly delay the appeal

   and that she was being excluded.

74.Later that day, Lewis contacted the class president to request information on the appeal process and to

   request a letter of recommendation, which he provided. He suggested that Lewis deliver the notice of

   appeal letter to Ruby directly and then to go speak with Reddy about the appeal process and the

   extenuating circumstances contributing to the CardiolRenal grade assignment.

75.At this time, Lewis had only one week to file the notice of appeal given the deadline of June 29 u1 •



   June 25 th

76.Frustrated but not deterred, Lewis proceeded to Reddy's office. Upon arriving, Mitchell was already

   there, speaking to one of Reddy's assistants. As Lewis entered the room, she overheard Mitchell


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   stating "straight C's are unacceptable." Then Mitchell walked out, appearing startled to have seen

   Lewis right after making his contemptuous comments.

77.Upon hearing Mitchell's comments, Lewis began to feel as though the dismissal was all but a foregone

   conclusion and that the appeal process was but a mere pretense.

7S.However, she proceeded to speak with the same assistant, to which Mitchell had just expressed his

   contempt. The assistant insisted on setting the appointment for June 2S th, but given the periding

   deadline, Lewis requested an earlier date. The assistant then informed Lewis that Mitchell would have

   to meet with Reddy prior to Lewis' meeting with Reddy. Lewis was becoming less confused by the

   seemingly inexplicable behavior and began to form the conclusion that Mitchell was determined to

   preserve the APC's decision to dismiss Lewis by and through his continued interference with the

   academic appeal process and intimidation tactics.

79. Lewis was told by the assistant that she could meet with Reddy at 3:30 pm on June 24th and that

   Mitchell's meeting with Reddy would begin at 2:45 pm on the same day.



   June 26th

SO. Lewis contacted the class president to set a time to pick up the recommendation letter. They agreed to

   meet the next day at noon. Prior to the meeting, the class president contacted Lewis to postpone the

   meeting until 2:00 p.m. in order to allow the class president an opportunity to meet with Mitchell and

   his wife (each is an APC member and Faculty Council Committee) at 1:00 p.m.

SI. Once again, Lewis began to feel as though Mitchell was intentionally interfering with the appeal

   process and attempting to unduly control its outcome.

S2.Based upon information and belief and based on his previous record, Mitchell had reached a decision

   prior to Lewis even filing a formal notice of appeal, prior to hearing testimony as to why the dismissal

   should be reversed or affirmed, and maybe most disturbingly, Mitchell was intent on influencing all

   other decision-makers to agree with him prior to a formal hearing on the matter.




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83.Based on guidance and direction provided by the class president, Lewis met with Reddy. Lewis

   informed Reddy of the recent loss of her grandmother and of her uncle's ongoing heart condition.

84.Lewis informed Reddy of how the frequent trips to Atlanta to visit and care for her ailing uncle had

   taken away from time allotted for study. To make matters worse, the circumstances occurred during or

   just prior to what is widely held by DMD students to be the most difficult semester in the DMD

   program.

8S.Again Lewis felt isolated, excluded, and misunderstood, and she was in near disbelief. After all of her

   hard work, sacrifice, and unwavering will to succeed, how could anyone, let alone the Dean, question

   her drive to become a dentist or her bona fides as a DMD student.

86. Based on representations made during the admissions process, Lewis reasonably believed that upon

   admission to the SOD, she would become a member of a community welcoming diversity of thought

   and experience.

87. Based on representations made in the Academic Guidelines, Cardio & Renal Course Syllabus, Lewis

   reasonably believed the SOD faculty would be considerate of extenuating circumstances and account

   for variances caused by unforeseeable family emergencies.

88.Each of the forgoing beliefs were quickly withering away, but Lewis persisted, informing Reddy that

   she was committed to remaining in the DMD program and that the loss of her grandmother and her

   uncle's illness had taken a toll on her academic performance and if given the opportunity she believed

   she deserved, Lewis would duly complete any necessary remedial actions.

89.Reddy informed Lewis the decision was not his to make and that the APC and Faculty Council makes

   the recommendation and that she could deliver the appeal letter to Ruby or leave it with Reddy.

90.Lewis informed Reddy she had been instructed to give the appeal letter to Ruby, but she had also been

   told that Ruby would not be in the office until Friday. Lewis perceived a look of disbelief on the face

   of Reddy upon his hearing that Ruby would be out of the office until Friday, but upon inquiry, there

   was no response given. Reddy responded by saying, "Well we are working on it," and then he

   recommended Lewis obtain a faculty advisor for the appeal.


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   June 27th

91.Lewis delivered the notice of appeal letter to the Dean's office (Reddy). The assistant receiving the

   notice time stamped it, provided a receipt to Lewis and then stated that she would deliver the notice to

   Ruby.

92.Later that day, Lewis called Ruby's office to confirm receipt of the notice. To her surprise, Ruby

   answered the call directly and confirmed receipt. Lewis' belief that Ruby was in the office, even

   though she had been told he would be out of the office until Friday, affirmed her growing suspicions

   that the members of the faculty and staffhad intentionally attempted to thwart her efforts to appeal the

   decision of dismissal.

   June 28 th

93.Lewis received an email from Ruby providing notice as to the date when the faculty council would

   hear Lewis' testimony which would be held on July 3rd which left Lewis with five (5) days to prepare

   for what was arguably the most important day at this early stage of her dental career.

94.Thereafter, Lewis met with the assigned faculty counselor to prepare for the upcoming hearing.



   July 3rd

95.Lewis appeared before the Faculty Council, along with the assigned faculty counselor, and two (2)

   other supporting witnesses.

96.After all ofthe disorientation and haphazard actions, Lewis was physically, emotionally, and mentally

   drained at the time of the hearing.

97. Ruby gave the opening remarks, in a long drawn out fashion; he gave the name of each member on the

   council, detailed the procedure and stated the importance ofadherence to the proscribed procedural

   requirements.

98.0nly one question was posed to Lewis during the hearing. The question did not concern the course at

   issue ~ Cardio/Renal - which furthered indicated to Lewis that the board had prejudged the matter.


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99.Lewis did not believe there was any genuine interest in hearing her testimony or her account of the

   events contributing to the dismissal.



   July 11

100.    After waiting a full seven (7) days without receiving a determination by the Faculty Council,

   Lewis contacted Reddy's office to follow up on the hearing, but she was told he was not available and

   so she left a message requesting a return phone call.



   July 12

101.    After not receiving a return call, Lewis called Reddy's office once again. The assistant, who

   answered the call, stated that Lewis had called Academic Affairs. Lewis found this response odd at

   best. She was certain she had dialed the appropriate number because the number was a stored contact

   saved on her cellular phone. Nonetheless, she was told that the call would be "properly" transferred.

   Upon waiting several minutes, Reddy answered the phone and told Lewis that the board recommended

   dismissal.



   July 24th

102.    Lewis visited the Academic Affairs office to pick up her academic file, including the minute from

   the Appeal hearing (per Academic Guidelines the file should contain minutes from the Appeal). The

   office clerk seemed surprised by the request and stated the minutes are not included in the student's

   academic file. Edwards ended the conversation by telling Lewis that she would call Lewis later in the

   day upon speaking with the Admissions Director.

103.    On July 25th, after not receiving a follow up call, Lewis called Edwards and was informed to visit

   the office later in the day. When Lewis arrived, Edwards provided a packet of documents that were not

   responsive to Lewis' request and that did not include the minutes.




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                                             FEDERAL CLAIMS

                                                 COUNT 1
                                         DECLARATORY RELIEF
                                      (As to each and every Defendant) .

104.    This is an action for declaratory and injunctive relief against the Defendant.

105.    All paragraphs of this complaint are incorporated herein as if fully restated.

106.    Lewis contends the Defendants had no right to fail to provide or to fail to provide impartially to

   Lewis, the benefits and considerations as described in the Academic Guidelines, the CardiolRenal

   syllabus, and other governing authority as described herein and above.

107.    Lewis contends she has a right to continue in the SOD and to enter into contract with NHSC free

   from the Defendant's unlawful and tortuous interference.

108.    Alternatively, Lewis contends that she has a right to avoid an effective permanent ban on

   completing a dentistry program beyond the confines of the UAB SOD campus. Defendants have

   effectively deprived Lewis of this right by way of the unlawful and unconstitutional dismissal which

   will remain on her academic record indefinitely.

109.    Lewis is being denied and deprived of the constitutional and contractual rights described herein

   by Defendants unlawful acts and policies.

110.    As a proximate resultofthe Defendant's unlawful actions, Lewis continues to suffer the

   irreparable harm described above for which monetary compensation is inadequate.

111.    There is a substantial likelihood that Lewis will ultimately prevail on the merits of her claim.

112.    Lewis prays that this Court will preliminarily and permanently enjoin the Defendant from

   continuing the acts complained of herein and that the Defendant is instructed to grant Lewis'

   readmission into the SOD or in the alternative to permit a voluntary "student initiated" withdrawal as

   outlined by the Academic Guidelines based on the special circumstances described herein. Lewis

   seeks all other reliefto which she proves she is entitled including an award of a reasonable attorney's

   fee and costs in this action.




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                                                COUNT 2
                             CIVIL RIGHTS ACT AND TITLE VI VIOLATION
        (Race~based Discrimination Federally Assisted Program as to each Defendant in his/her Official
                                                Capacity)

113.      All paragraphs of this complaint are incorporated herein as iffully restated.

114.      Defendants' use of racial, ethnic,   socio~economic   background criteria in administering federally

   assisted higher education policies and programs, violates the provisions ofthe Fourteenth Amendment

   to the Constitution ofthe United States, the provisions of 42 U.S.C. § 1983, and the provisions ofTitle

   VI (42 U.s.c. §2000d, et seq.).

115.       Defendants' actions were motivated by unconstitutional purposes and an intent to discriminate.

116.       Defendants' actions have a disparate impact on groups protected by the statute, namely non-white

   students and African American students.

117.       Defendants' attempts to use pretext and subterfuge to engage in such unconstitutional and

   unlawful discriminatory actions constitute violations of those provisions and necessarily subject those

   certain actors to the jurisdiction ofthis court.

118.       Defendants have no sufficient evidence of any important or compelling interest in the use of such

   criteria in its academic decisions generally or for dismissal decisions in particular.

119.       Moreover, the Defendant has not sought to tailor its use of racial, ethnic, and socio-economic

   background criteria in an appropriate manner in its student retention policies generally or in its

   administration of academic review policies and practices services.

120.      Lewis has been and will continue to be damaged thereby.

121.      Lewis claims all damages allowable under law.


                                                   COUNT 3
                                     CIVIL RIGHTS ACT VIOLATION
                    (Due Process Violation as to each Defendant in his/her Official Capacity)

] 21.      All paragraphs of this complaint are incorporated herein as if fully restated.

122.       Lewis has a property interest in her rights and expectations (including by not necessarily limited

   to, completion of the SOD program, future earnings, recoupment of substantial investment in


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  education expense, NHSC Scholarship Award, and to fulfill the associated contractual obligations)

  arising out of and from her status as a DMD program student, the implied contract with SOD, and the

  contract with the NHSC Program.

123.    Defendants' unlawful dismissal from the SOD and termination of that contract deprives the

   plaintiffof property without due process oflaw, in that, it is inter alia, arbitrary, pretextual, and

  occasioned by the desire to engage in unlawful and unconstitutional racial, ethnic, and socio-economic

   discrimination.

124.    Lewis contends the dismissal and the failure to account for an involuntary hardship (i.e. course

   absences caused by family-based exigencies) represents a substantial departure from accepted

   academic norms and demonstrates that the Defendants did not actually exercise professional judgment

   in good faith or in the constitutionally required impartial manner.

125.    Lewis contends that the defendants engaged in a substantial departure from their own guidelines

   the guidelines of the National Board of Dental Examiners/American Dental Association

   (NBDE/ADA) and furthermore applied the guidelines inconsistently based on protected factors.

126.    Lewis has been and will, in the future, be damaged by that deprivation.

127.    Lewis claims all damages allowable under law.


                                            STATE LAW CLAIMS

                                                  COUNT 4
                                         BREACH OF CONTRACT
                          As to the Board of Trustees, Reddy, Tilashalski, & Mtichell


128.    All paragraphs of this complaint are incorporated herein as if fully restated.

129.    Upon accepting admission to the SOD, Lewis entered a binding contract with the Defendants.

130.    The terms of the agreement are largely represented by the terms contained within the Academic

   Guidelines and are supplemented by course syllabi provided to Lewis.

131.    In maintaining a GPA above 2.0, Lewis fulfilled her obligations under the terms of the agreement.

132.    Defendant breached the agreement with Lewis in at least the following ways:


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        1.      The Defendant in failing to adhere to the tenns of the agreement as provided by the

                Academic Guidelines;

        ii.     by not considering the impact that the familial hardship may have imposed on Lewis'

                academic perfonnance;

         111.   failing to provide appropriate relief in a timely or proactive manner;

         iv. failing to adhere to an impartial systemic review and appeal process.

133.    As the direct and proximate result ofthe Defendants breach, Lewis was damaged thereby.

134.    Lewis claims all damages allowable under law.


                                                COUNTS
                INTENTIONAL INTERFERENCE WITH A CONTRACTUAL RELATIONSHIP
                         As to Reddy, Tilashalski, & Mitchell to each individually
                                                                  L




135.    All paragraphs ofthis complaint are incorporated herein as iffully restated.

136.    Lewis, as a DMD program student and scholarship recipient (NHSC Scholar Program), has a

   right to do business in a fair setting that is protected. Moreover, Lewis has a right to pursue a

   professional dental career committed to serving the dental needs of under-served communities under

   the employ of corporate or individual entities.

137.    As more specifically described above, Lewis entered a binding contract and otherwise had a

   business relationship with the National Health Service Corps of which those certain Defendants had

   knowledge of or should have had knowledge of its existence.

138.    With knowledge of the contractual relationship between Lewis and the NHSC and of Lewis'

   commitment to meet the dental needs of underserved communities, those certain defendants

   intentionally interfered with said contractual relationship and as the direct and proximate result of

   Defendants actions, Lewis was damaged thereby.

139.    Defendants' actions constitute prohibited interference and cannot be justified by any legitimate

   purpose.

140.    Lewis claims all damages allowable under law.



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                                      COUNT 6
   NEGLIGENT SUPERVISION/TRAINING/RETENTION OF ACADEMIC FACULTY STAFF AND
                                 ADMINISTRATORS
                          As to the Board ofTrustees, Reddy

140.    All paragraphs of this complaint are incorporated herein as iffully restated.

141.    A claim for negligent hiring is based on the principle that an employer is liable for the hann

   resulting from its employees' negligent acts in the employment of improper persons or

   instrumentalities in work involving risk of harm to others.

142.    The Defendant hired, supervised, and/or trained incompetent agents or employees who committed

   some or all ofthe wrongful acts set forth in this Complaint.

143.    Defendant's employees spoke with Plaintiff on a frequent and ongoing basis, engaging in

   dismissive and discriminatory behavior for which there is no legitimate purpose or reasonable

   rationale.

144.    Defendant's agents have refused or otherwise failed to follow its own self imposed guidelines,

   and moreover, its actions with respect to Lewis veered from any cognizable systemic academic review

   process. As described herein and above, a review ofthe relevant sequence of events lays bare the

   incompetence of Defendant's agents/employees.

145.    The Defendants are liable for the actions of its agents or employees because Defendants knew or

   should have known its agents or employees were predisposed to committing the wrongs (absent

   standardized impartial academic review procedures with independent checks and balances), yet placed

   certain agents or employees in a position in which they could have and, in fact, did commit a wrong

   against Lewis.

146.    As described herein and above, Defendant knew or should have known of the incompetence of its

   agents or employees.

147.    Defendant knew or should have known the actions of its agents or employees constituted a

   continuous or ongoing tort.




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148.   Defendant was negligent or reckless in its hiring, supervision, retention and/or training, and as the

   employer, Defendant failed to take "adequate" steps to remedy the situation.

149.   This negligence is a direct and proximate result to the damages suffered by Plaintiff.

150.    Lewis claims all damages allowable under law.


                                                 COUNT 7
                                        INVASION OF PRlVACY
                          As to Reddy, Tilashalski, & Mtichell to each individually
                                                                 L




151.    All paragraphs of this complaint are incorporated herein as if fully restated.

152.    Although the Constitution proscribes no direct right of privacy, but as widely held, the right is

   implicitly conferred by the Bill of Rights and extends to the right of privacy of beliefs, the right to be

   free from interference in one's pursuit of life, liberty, and the harmonious interaction with fellow

   citizens and community members.

153.    The right to privacy certainly extends to a student's pursuit of entering the dental profession for

   the purpose of meeting the needs of those who are arguably in the greatest need of dental care.

   Whether from the view of the individual or the collective masses (save those who consider affordable

   dental care as unfair competition), Lewis' realization of her goal    providing dental care to all in need

   without regard to the patient's ability to pay -- could hardly be said to infringe on the liberty of

   another.

154.    At some time prior to the events described herein, defendants formed a student/faculty

   relationship with Lewis based on their respective role as agents or employees within the SOD.

   However, the actions complained of against defendants are alleged to each individually, as their

   actions were not within the scope oftheir respective proscribed official capacities or the intended

   authority granted, and therefore the protections afforded to the state and its actor under the theory of

   sovereign or governmental immunity is not applicable and should not be afforded to the certain named

   defendants.




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155.    Plaintiff, via email and in several conversations with an agent or employee of defendants,

   explained to defendant that Plaintiff Lewis had experienced two separate extenuating circumstances

   that contributed to Lewis' "marginal" academic performance.

156.    At all times relevant to this action, certain defendants began a systematic campaign against the

   plaintiff, while knowing or having information from which it could easily be confirmed and verified

   that the plaintiff was not due to receive the harshest and most severe penalty (i.e. dismissal).

   Specifically, those certain defendants met with Lewis to discuss alternatives to dismissal which led

   Lewis to reasonably believe enrollment in the SOD would continue.

157.    Certain defendants further continued to delay the academic review process and frustrated the

   process by unduly influencing decision-makers in the review process and deprived Lewis of a meaning

   opportunity to receive the constitutionally required review procedures prior to the deprivation of a

   protected interest.

158.    This conduct was calculated to deprive Lewis of meaningful due process and had the effect to

   result in great embarrassment, humiliation, and mental distress incurred by Lewis, as the certain

   defendants deliberately spoke in such a tone of voice, were motivated by factors such as preserving

   vestiges of discrimination and classism and acted with such callous regard for Lewis as to embarrass

   plaintiff before other members of the faculty, staff, and classmates.

159.    Plaintiff again explained that she was committed to taking the steps required to resume

   enrollment, including repetition, but the certain defendants persisted with their demands stating that

   people from certain backgrounds tend to do better in the DMD program than others.

160.    Thereafter, the certain defendants continued to delay and engage in avoidance tactics throughout

   the appeal process.

161.    The conduct ofthe defendant described herein constitutes a wrongful intrusion and an invasion of

   the plaintiffs privacy.

162.    As a direct and proximate result of the above described conduct of the defendant, plaintiff has

   incurred great mental and emotional distress; she has been made ill as a result of this mental and


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   emotional distress, has lost the benefit of a full tuition scholarship to which she will now have to repay

   out-of-pocket, has lost future earnings from future employment opportunities, and has lost the

   opportunity to fulfill the socially conscious mission of providing dental care to under-served

   communities; plaintiff further claims punitive damages, which if awarded, should be submitted to a

   non-profit organization with a stated mission of providing dental care to under-served communities.

163.    Lewis claims all damages allowable under law.


   PRAYER FOR RELIEF

   WHEREFORE, PREMISES CONSIDERED, Plaintiff requests the following relief:

1. Preliminarily and permanently enjoin the defendants from using (or permitting, encouraging, or

   requiring the use) of non-socially conscious racial, ethnic, or socioeconomic discriminatory criteria in

   the academic review process and the associated administrative review process.

2. Preliminarily and permanently enjoin the Defendants from retaliating against the Plaintiff for raising

   the stated objections and bringing this action;

3. Preliminarily and permanently enjoin the defendants from preventing or frustrating dental students and

   future dental professionals participation in programs serving the dental care needs of under-served

   communities, encouraging dental students to develop a myopic and fatally flawed view of their

   respective roles in society as members of a trusted profession, or failing to encourage dental students

   and future dental professionals to more fully appreciate the immense value in promoting affordable

   access to dental care.

4. Award Lewis punitive damages against the defendants in their individual capacities in an amount to be

   determined by ajury of her peers at trial (which plaintiff believes should be at least $5 million to be

   awarded in whole to American Dental Association (ADA) approved non-profit organizations




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   committed to improving access to dental care for under-served communities andlor to the Community

   Dental Health Coordinator (CDHC) Program7 sponsored by the ADA).

5. Grant Plaintiff an order requiring Defendants to make Plaintiff whole by granting the appropriate

   declaratory relief, lost benefits, lost opportunities, reinstatement, compensatory and punitive damages;

   and

6. Grant Plaintiff a permanent injunction enjoining Defendants, its agents, successors, employees,

   attorneys and those acting in concert therewith from continuing to violate 42 U.S.C. 2000(d);

7. Plaintiff prays for such other and further relief as to the court may seem just, proper, and

   equitable, including if so warranted by the merits of the claims raised and supported by applicable

   authority, her costs, and a reasonable attorney's fee as incurred herein.


Respectfully submitted,

lsI Richard A. Rice (RIC086)

Richard A. Rice
Attorneyfor Plaintiff, Ebony Lewis

Vulcan Legal Group, LLC
South 2229 1st Avenue
Birmingham, Alabama 35233
Suite 225




                                       DEMAND FOR TRIAL BY WRY




7The American Dental Association has been promoting oral health care through community based initiatives since
its inception. In 2006, the ADA House of Delegates established the Workforce Models National Coordinating and
Development Committee (NCDC) to create a Community Dental Health Coordinator (CDHC) model training
program. The program is an initiative to bring oral health care to under-served communities and is being piloted in
three locations. !mJQ.;il~~ill!!hQ!:gL\;~~illX


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                                        VERIFICATION

I, Ebony M. Lewis, having been duly sworn depose and state that I have read the foregoing

Complaint and that the information stated therein as factual is true, and those factual matters

which are stated upon information and belief are believed to be true.


    8~4A
     ~bOny            M. Lewis

Sworn and subscribed before me on this the     'Z..:J    day of    A~.           ,2012.


                                      ~:LP-=L ..
                                      MY CommiSSlOn    .           NOTARY PUBUC STATE OF ALABAMA AT LARGE
                                                    ExpIres:       MY COMMISSION EXPIRES: Mar 26. 2016
                                                                   BONDED THRU NOTARY PUBUC UNDERWRITERS
